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                                                      July 17, 2017

         VIA FEDEX

         The Honorable Anne Y. Shields
         United States District Court
         Long Island Courthouse
         100 Federal Plaza
         Central Islip, NY 11722

                  Re:    Sands Harbor v. Wells Fargo, EVMC, et al.
                         Case No. 09 CV 3855

         Dear Judge Shields:

                Enclosed please find Dogali Law Group, P.A.’s Motion for Award of Expenses Pursuant to
         Rule 45, along with it supportive Declaration and Exhibits.

                 I served the motion, declaration, and exhibits on counsel today. I am unable to directly file
         the motion because, in so far as Dogali Law Group is a non-party, I do not presently have e-filing
         privileges in the Eastern District.

                 Consistent with your Honor’s previously-stated intention that the parties attempt to agree
         upon and propose a briefing schedule, I have communicated with counsel for Wells Fargo, and the
         parties believe, with the Court’s indulgence, that Wells Fargo should be permitted to provide a
         response to the instant motion on or before July 31, 2017.

                  Thank you for your consideration.

                                                                   Sincerely,


                                                                   Andy Dogali

         AABD/jem
         Enclosures
         c: All counsel of record by e-mail with enclosures
